Case 1:25-cv-00916-JDB   Document 19-14   Filed 04/08/25   Page 1 of 3




        EXHIBIT 11
        Case 1:25-cv-00916-JDB               Document 19-14           Filed 04/08/25        Page 2 of 3



Fact Sheet: President Donald J. Trump Addresses Risks
from Paul Weiss
   whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-paul-weiss

                                                                                                      March 15, 2025




Fact Sheets
The White House

March 14, 2025

SUSPENDING SECURITY CLEARANCES TO PROTECT THE NATIONAL INTEREST:
Today, President Donald J. Trump signed an Executive Order to suspend security clearances
held by individuals at Paul, Weiss, Rifkind, Wharton & Garrison LLP (Paul Weiss) pending a
review of whether such clearances are consistent with the national interest.

     Security clearances held by Paul Weiss employees and Mark Pomerantz will be
     immediately suspended, pending a review of whether their access to sensitive
     information is consistent with the national interest.
           The Federal Government will halt all material and services, including sensitive
           compartmented information facility (SCIF) access provided to Paul Weiss and
           restrict its employees’ access to government buildings.
           Federal Agencies will also refrain from hiring Paul Weiss employees unless
           specifically authorized.




                                                                                                                       1/2
       Case 1:25-cv-00916-JDB       Document 19-14       Filed 04/08/25    Page 3 of 3

     To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
     activities not aligned with American interests, the Federal Government will terminate
     contracts that involve Paul Weiss.
     The practices of Paul Weiss will be reviewed under Title VII to ensure compliance with
     civil rights laws against racial bias.

SAFEGUARDING TAXPAYER FUNDS: The Trump Administration will no longer support
taxpayer funds from sponsoring activities that make our communities less safe, increase
burdens on local businesses, limit constitutional freedoms, and degrade the quality of
American elections.

     Paul Weiss hired unethical attorney Mark Pomerantz, who had previously left the firm
     to join the Manhattan District Attorney’s office solely to manufacture a prosecution
     against President Trump.
            According to his coworkers, Pomerantz had unethically led witnesses in ways
            designed to implicate President Trump.
            After being unable to convince Manhattan District Attorney Alvin Bragg that a
            fraud case was feasible, Pomerantz engaged in a media campaign to gin up
            support for this unwarranted prosecution.
     Paul Weiss has been accused of discriminating against its own employees on the basis
     of race and other categories prohibited by civil rights laws.

ENDING THE WEAPONIZATION OF GOVERNMENT: President Trump is delivering on his
promise to end the weaponization of government and protect the nation from partisan actors
who exploit their influence.

     President Trump is refocusing government operations to their core mission—serving
     the citizens of the United States.
     President Trump signed an Executive Order to end the weaponization of the Federal
     Government on his first day in office after promising to “end forever the weaponization
     of government and the abuse of law enforcement against political opponents.”
     President Trump revoked security clearances held by dozens of intelligence officials
     who falsely claimed in a 2020 letter, during the height of the U.S. presidential election
     season, that Hunter Biden’s laptop was tantamount to Russian disinformation.




                                                                                                 2/2
